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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

PAR PHARMACEUTICAL, INC., PAR STERILE

PRODUCTS, LLC, and ENDO PAR
INNOVATION COMPANY, LLC,

Plaintiffs,
v.
EAGLE PHARMACEUTICALS INC.,

Defendant.

C.A. No. 18-823-VAC-CJB

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PUBLIC VERSION
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EAGLE PHARMACEUTICALS, INC.’S ANSWER TO
COMPLAINT & COUNTERCLAIMS

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Pharmaceuticals Inc.
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Defendant Eagle Pharmaceuticals, Inc. (“Eagle”), by and through its counsel, hereby
responds to the claims asserted by Par Pharmaceutical, Inc., Par Sterile Products, LLC, and Endo
Par Innovation Company, LLC (collectively, “Par’’) in their Complaint as follows:

PARTIES

1. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that
Plaintiff Par Pharmaceutical, Inc. (“Par Pharmaceutical”) is a corporation organized under the
laws of the State of New York having a principal place of business at 1 Ram Ridge Road,
Chestnut Ridge, New York 10977. Eagle is without sufficient information to form a belief as
to the remaining allegations set forth in Paragraph 1 of the Complaint and therefore denies the
same.

2. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that
Plaintiff Par Sterile Products, LLC (“Par Sterile Products”) is a limited liability company
organized under the laws of the State of Delaware having a principal place of business at 1
Ram Ridge Road, Chestnut Ridge, New York 10977. Eagle is without sufficient information
to form a belief as to the remaining allegations set forth in Paragraph 2 of the Complaint and
therefore denies the same.

3. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that
Plaintiff Endo Par Innovation Company (“EPIC”) is a limited liability company organized
under the laws of the State of Delaware, having a principal place of business at 1 Ram Ridge
Road, Chestnut Ridge, New York 10977.

4. Eagle admits the allegations set forth in Paragraph 4 of the Complaint.

NATURE OF ACTION

5. Eagle states that the allegations set forth in Paragraph 5 of the Complaint are legal conclusions

as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
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admits that Par, through its Complaint, purports to allege infringement of United States Patent
Nos. 9,375,478 (“the °478 Patent”), 9,687,526 (“the °526 Patent”), 9,744,209 (“the ’209
Patent”), 9,744,239 (“the ’239 Patent”), 9,750,785 (“the ’785 Patent”), and 9,937,223 (“the
*223 Patent”) (collectively, “the Patents-in-Suit”) under the Patent Laws of the United States,
35 U.S.C. § 100, et seg., but denies that Eagle has infringed any of the Patents-in-Suit. Eagle
otherwise denies the allegations set forth in Paragraph 5 of the Complaint.

JURISDICTION AND VENUE

6. Eagle states that the allegations set forth in Paragraph 6 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
admits that this Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §§ 1331 and 1338 (a) for the purposes of the instant case, but only to the extent each
Plaintiff has standing to bring the claims set forth in the Complaint.

7. Eagle states that the allegations set forth in Paragraph 7 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
admits that venue is proper in this District for the purposes of the instant case only.

8. Eagle states that the allegations set forth in Paragraph 8 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
admits that this Court has personal jurisdiction over Eagle for the purposes of the instant case
only.

THE DRUG APPROVAL PROCESS

9. Eagle states that the allegations set forth in Paragraph 9 of the Complaint are legal conclusions

as to which no responsive pleading is necessary, but to the extent a response is required, Eagle

denies the same.
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10. Eagle states that the allegations set forth in Paragraph 10 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

11. Eagle states that the allegations set forth in Paragraph 11 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

12. Eagle states that the allegations set forth in Paragraph 12 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

13, Eagle states that the allegations set forth in Paragraph 13 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

FACTUAL BACKGROUND

The Patents-In-Suit

14. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that Par
Pharmaceutical is the owner of the ’478 patent, titled “Vasopressin Formulations For Use In
Treatment of Hypotension,” which issued on or around June 28, 2016. The remaining
allegations set forth in Paragraph 14 of the Complaint are legal conclusions to which no
responsive pleading is necessary, but to the extent a response is required, Eagle denies the
same.

15. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that Par
Pharmaceutical is the owner of the ’526 patent, titled “Vasopressin Formulations For Use In
Treatment of Hypotension,” which issued on or around June 27, 2017. The remaining

allegations set forth in Paragraph 15 of the Complaint are legal conclusions to which no
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responsive pleading is necessary, but to the extent a response is required, Eagle denies the
same.

16. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that Par
Pharmaceutical is the owner of the ’209 patent, titled “Vasopressin Formulations For Use In
Treatment of Hypotension,” which issued on or around August 29, 2017. The remaining
allegations set forth in Paragraph 16 of the Complaint are legal conclusions to which no
responsive pleading is necessary, but to the extent a response is required, Eagle denies the
same.

17. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that Par
Pharmaceutical is the owner of the ’239 patent, titled “Vasopressin Formulations For Use In
Treatment of Hypotension,” which issued on or around August 29, 2017. The remaining
allegations set forth in Paragraph 17 of the Complaint are legal conclusions to which no
responsive pleading is necessary, but to the extent a response is required, Eagle denies the
same.

18. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that Par
Pharmaceutical is the owner of the ’785 patent, titled “Vasopressin Formulations For Use In
Treatment of Hypotension,” which issued on or around September 5, 2017. The remaining
allegations set forth in Paragraph 18 of the Complaint are legal conclusions to which no
responsive pleading is necessary, but to the extent a response is required, Eagle denies the
same.

19. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that Par
Pharmaceutical is the owner of the ’223 patent, titled “Vasopressin Formulations For Use In

Treatment of Hypotension,” which issued on or around April 10, 2018. The remaining
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allegations set forth in Paragraph 19 of the Complaint are legal conclusions to which no
responsive pleading is necessary, but to the extent a response is required, Eagle denies the
same.

20. Eagle states that the allegations set forth in Paragraph 20 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
states that it is without sufficient information to form a belief as to the allegations set forth in
Paragraph 20 of the Complaint and therefore denies the same.

VASOSTRICT®

21. Eagle admits that vasopressin is a polypeptide hormone that causes constriction of vascular
and other smooth muscle cells and is the active ingredient in VASOSTRICT®. Eagle is
without sufficient information to form a belief as to the remaining allegations set forth in
Paragraph 21 of the Complaint and therefore denies the same.

22. Eagle admits that the FDA first granted approval to NDA No. 204485 on April 17, 2014. Eagle
is without sufficient information to form a belief as to the remaining allegations set forth in
Paragraph 22 of the Complaint and therefore denies the same.

23. Eagle is without sufficient information to form a belief as to the allegations set forth in
Paragraph 23 of the Complaint and therefore denies the same.

24. Eagle admits that the FDA granted approval to NDA No. 204485/S-003, regarding the 20
units/mL in 1 mL vial formulation of VASOSTRICT®, on or around March 18, 2016 and to
NDA No. 204485/S-004, regarding the 200 units/10 mL in 10 mL vial formulation of
VASOSTRICT®, on or around December 17, 2016. Eagle is without sufficient information
to form a belief as to the remaining allegations set forth in Paragraph 24 of the Complaint and

therefore denies the same.
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25. Eagle admits upon information and belief, based on the facts alleged in the Complaint, that Par
Sterile Products is the holder of NDA No. 204485 and the supplements thereto.

26. Eagle admits that the Patents-in-Suit have been listed in the FDA’s Approved Drug Products
with Therapeutic Equivalence Evaluations (“Orange Book”) in connection with
VASOSTRICT®. The remaining allegations set forth in Paragraph 26 of the Complaint are
legal conclusions to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

27. Eagle admits that VASOSTRICT® is indicated to increase blood pressure in adults with
vasodilatory shock (e.g., post-cardiotomy or sepsis) who remain hypotensive despite fluids and
catecholamines. Eagle is without sufficient information to form a belief as to the remaining
allegations set forth in Paragraph 27 of the Complaint and therefore denies the same.

Eagle’s Generic Vasopressin Product

28. Eagle admits the allegations set forth in Paragraph 28 of the Complaint.

29. Eagle admits the allegations set forth in Paragraph 29 of the Complaint.

30. Eagle admits that, by letters dated April 16, 2018 and May 18, 2018, it provided notice to Par
Sterile Products and Par Pharmaceutical that ANDA No. 211538 included Paragraph IV
certifications under 21 U.S.C. § 355¢j)(2)(A)(vii)(IV) that the Patents-in-Suit are invalid,
unenforceable, and/or will not be infringed by Eagle’s Proposed ANDA Product. Eagle further
admits that its April 16, 2018 and May 18, 2018 letters each included an Offer of Confidential
Access to Eagle’s ANDA No. 211538 pursuant to 21 U.S.C. § 355(G)(5)(C)(G)(ID for the sole
and exclusive purpose of determining whether an infringement action under 21 U.S.C.
§ 355()(5)(B)Gii) could be brought with respect to the Patents-in-Suit. Eagle denies any

remaining allegations set forth in Paragraph 30 of the Complaint.
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31. Eagle admits that Par requested access to Eagle’s ANDA No. 211538 pursuant to the terms of
Eagle’s Offer of Confidential Access on May 14, 2018 by providing Eagle with an executed
copy of Eagle’s Offer of Confidential Access. Eagle admits that pursuant to the terms of its
Offer of Confidential Access, Eagle produced ANDA No. 211538 “redacted to remove
portions of no relevance to any issue of patent infringement” in accordance with 21 U.S.C.
§ 355G)G6)OC)@d). Eagle denies any remaining allegations set forth in Paragraph 31 of the
Complaint.

32. Eagle admits that Par requested access to the redacted portions of Eagle’s: ANDA No. 211538
and that Par alleged that it was otherwise unable to conduct a full and complete infringement
analysis of Eagle’s ANDA. Eagle denies that Par was unable to conduct a full and complete
infringement analysis with respect to the Patents-in-Suit based on Eagle’s ANDA production
under the Offer of Confidential Access, and denies any remaining allegations set forth in
Paragraph 32 of the Complaint.

33. Eagle admits that Par requested access to the redacted portions of Eagle’s ANDA No. 211538
and that Par alleged that it was otherwise unable to conduct a full and complete infringement
analysis of Eagle’s ANDA. Eagle denies that Par was unable to conduct a full and complete
infringement analysis with respect to the Patents-in-Suit based on Eagle’s ANDA production
under the Offer of Confidential Access, and denies any remaining allegations set forth in
Paragraph 33 of the Complaint.

34. Eagle admits that pursuant to the terms of its Offer of Confidential Access, Eagle produced
ANDA No. 211538 “redacted to remove portions of no relevance to any issue of patent
infringement” in accordance with 21 U.S.C. § 355(q)(5)(C)@)dD), and that it has not made any

additional production of ANDA No. 211538 outside of the terms of Eagle’s Offer of
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Confidential Access. Eagle denies the remaining allegations set forth in Paragraph 34 of the
Complaint.

35. Eagle denies the allegations set forth in Paragraph 35 of the Complaint.

36. Eagle is without sufficient information to form a belief as to the allegations set forth in
Paragraph 36 of the Complaint and therefore denies the same.

37. Eagle states that the allegations set forth in Paragraph 37 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

COUNT I:
INFRINGEMENT OF THE °239 PATENT

38. Eagle incorporates by reference and realleges its responses to the allegations set forth in
Paragraphs 1-37 of the Complaint.

39. Eagle states that the allegations set forth in Paragraph 39 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

40. Eagle states that the allegations set forth in Paragraph 40 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

41. Eagle admits that claim 1 of the ’239 patent recites as follows:

1. A method of increasing blood pressure in a human in need thereof, the method
comprising:

a) providing a pharmaceutical composition for intravenous administration
consisting of, in a unit dosage form: i) from about 0.01 mg/mL to about 0.07 mg/mL
of vasopressin or a pharmaceutically-acceptable salt thereof; ii) optionally
chlorobutanol; iii) acetic acid, acetate, or a combination thereof; iv) 0-2%
vasopressin degradation products; and v) water;
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b) diluting the unit dosage form in a diluent to provide a concentration from about
0.1 units/mL to about | unit/mL of vasopressin or the pharmaceutically-acceptable
salt thereof; and

c) administering the diluted unit dosage form to the human by intravenous
administration; wherein:

the unit dosage form has a pH of 3.5 to 4.1; the administration provides to the
human from about 0.01 units of vasopressin or the pharmaceutically-acceptable salt
thereof per minute to about 0.1 units of vasopressin or the pharmaceutically-
acceptable salt thereof per minute; and

the human is hypotensive.

Eagle states that the remaining allegations set forth in Paragraph 41 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

42. Eagle states that the allegations set forth in Paragraph 42 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

43. Eagle states that the allegations set forth in Paragraph 43 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

44, Eagle admits that it was aware of the existence of the ’239 patent when it submitted ANDA
No, 211538. Eagle states that the remaining allegations set forth in Paragraph 44 of the
Complaint are legal conclusions as to which no responsive pleading is necessary, but to the
extent a response is required, Eagle denies the same.

45, Eagle states that the allegations set forth in Paragraph 45 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle

denies the same.

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COUNT I:
INFRINGEMENT OF THE °223 PATENT

46, Eagle incorporates by reference and realleges its responses to the allegations set forth in
Paragraphs 1-45 of the Complaint.

47, Eagle states that the allegations set forth in Paragraph 47 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

48, Eagle states that the allegations set forth in Paragraph 48 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

49. Eagle states that the allegations set forth in Paragraph 49 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

50. Eagle admits that claim 1 of the ’223 patent recites as follows:

1. A method of increasing blood pressure in a human in need thereof, the method

comprising:

a) providing a pharmaceutical composition for intravenous administration
comprising: i) from about 0.01 mg/mL to about 0.07 mg/mL of vasopressin or a
pharmaceutically acceptable salt thereof; ii) acetate buffer; and iii) water, wherein
the pharmaceutical composition has a pH from about 3.7 to about 3.8,

wherein the pharmaceutical composition is provided in a container;

b) puncturing a dispensing region of the container a first time and drawing from the
container a portion of the pharmaceutical composition;

c) intravenously administering the portion of the pharmaceutical composition to the
human,

wherein the administration provides to the human from about 0.01 units of
vasopressin or the pharmaceutically acceptable salt thereof per minute to about 0.1
units of vasopressin or the pharmaceutically acceptable salt thereof per minute,

wherein the human is hypotensive;

d) puncturing the dispensing region of the container a second time and drawing
from the container a second portion of the pharmaceutical composition, wherein

at
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the second time that the dispensing region of the container is punctured occurs at
least 48hours after the first time that the dispensing region of the container is
punctured;

e) intravenously administering the second portion of the pharmaceutical
composition to the human,

wherein the administration of the second portion of the pharmaceutical composition
provides to the human from about 0.01 units of vasopressin or the pharmaceutically
acceptable salt thereof per minute to about 0.1 units of vasopressin or the
pharmaceutically acceptable salt thereof per minute.
Eagle states that the remaining allegations set forth in Paragraph 50 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

51. Eagle states that the allegations set forth in Paragraph 51 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

52. Eagle admits that it was aware of the existence of the ’223 patent when it submitted its
Paragraph IV certification with respect to the ’223 patent in connection with ANDA No.
211538. Eagle states that the remaining allegations set forth in Paragraph 52 of the Complaint
are legal conclusions as to which no responsive pleading is necessary, but to the extent a
response is required, Eagle denies the same.

53. Eagle states that the allegations set forth in Paragraph 53 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle

denies the same.

COUNT Il:
INFRINGEMENT OF THE 7478 PATENT

54, Eagle incorporates by reference and realleges its responses to the allegations set forth in

Paragraphs 1-53 of the Complaint.

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55. Eagle states that the allegations set forth in Paragraph 55 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

56. Eagle states that the allegations set forth in Paragraph 56 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

57. Eagle admits that claim 1 of the ’478 patent recites as follows:

1. A method of increasing blood pressure.in a human in need thereof, the method

comprising administering to the human a unit dosage form, wherein the unit dosage
form consists essentially of:

a) from about 0.01 mg/mL to about 0.07 mg/mL of vasopressin or a
pharmaceutically-acceptable salt thereof;

b) 10 mM acetate buffer; and
c) water,
wherein:

the unit dosage form has a pH of 3.8; the administration provides to the human from
about 0.01 units of vasopressin or the pharmaceutically-acceptable salt thereof per
minute to about 0.1 units of vasopressin or the pharmaceutically-acceptable salt
thereof per minute; and

the human is hypotensive.

Eagle states that the remaining allegations set forth in Paragraph 57 of the Complaint are legal

conclusions as to which no responsive pleading is necessary, but to the extent a response is

required, Eagle denies the same.

58. Eagle states that the allegations set forth in Paragraph 58 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle

denies the same.

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59. Eagle states that the allegations set forth in Paragraph 59 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

60. Eagle admits that it was aware of the existence of the °478 patent when it submitted ANDA
No. 211538. Eagle states that the remaining allegations set forth in Paragraph 60 of the
Complaint are legal conclusions as to which no responsive pleading is necessary, but to the
extent a response is required, Eagle denies the same.

61. Eagle states thatthe allegations set forth in Paragraph 61 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

COUNT IV:
INFRINGEMENT OF THE ’526 PATENT

62. Eagle incorporates by reference and realleges its responses to the allegations set forth in
Paragraphs 1-61 of the Complaint.

63. Eagle states that the allegations set forth in Paragraph 63 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

64. Eagle states that the allegations set forth in Paragraph 64 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

65. Eagle admits that claim 1 of the ’526 patent recites as follows:

1. A method of increasing blood pressure in a human in need thereof, the method
comprising:

a) providing a pharmaceutical composition for intravenous administration
comprising: i) from about 0.01 mg/mL to about 0.07 mg/mL of vasopressin or a
pharmaceutically-acceptable salt thereof; ii) acetic acid; and iii) water,

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wherein the pharmaceutical composition has a pH of 3.8; b) storing the
pharmaceutical composition at 2-8° C. for at least 4 weeks; and

c) intravenously administering the pharmaceutical composition to the human,

wherein the administration provides to the human from about 0.01 units of
vasopressin or the pharmaceutically-acceptable salt thereof per minute to about 0.1
units of vasopressin or the pharmaceutically-acceptable salt thereof per minute,

wherein the human is hypotensive,

wherein the pharmaceutical composition exhibits less than about 5% degradation
after storage at 2-8° C. for about four weeks.

Eagle states that the remaining allegations set forth in Paragraph 65 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

66. Eagle states that the allegations set forth in Paragraph 66 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

67. Eagle states that the allegations set forth in Paragraph 67 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

68. Eagle admits that it was aware of the ’526 patent when it submitted ANDA No. 211538. Eagle
states that the remaining allegations set forth in Paragraph 68 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

69. Eagle states that the allegations set forth in Paragraph 69 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle

denies the same.

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COUNT V:
INFRINGEMENT OF THE ’785 PATENT

70. Eagle incorporates by reference and realleges its responses to the allegations set forth in
Paragraphs 1-69 of the Complaint.

71. Eagle states that the allegations set forth in Paragraph 71 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

72, Eagle states that the allegations set forth in Paragraph 72 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

73. Eagle admits that claim 1 of the ’785 patent recites as follows:

A pharmaceutical composition comprising, in a unit dosage form, from about 0.01
mg/mL to about 0.07 mg/mL of vasopressin or a pharmaceutically-acceptable salt
thereof, wherein the unit dosage form further comprises impurities that are present
in an amount of 0.9% to 1.7%, wherein the impurities have from about 85% to

about 100% sequence homology to SEQ ID NO.: 1, and wherein the unit dosage
form has a pH of 3.7-3.9.

Eagle states that the remaining allegations set forth in Paragraph 73 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

74, Eagle states that the allegations set forth in Paragraph 74 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

75. Eagle states that the allegations set forth in Paragraph 75 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle

denies the same.

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76. Eagle admits that it was aware of the ’785 patent when it submitted ANDA No. 211538. Eagle
states that the remaining allegations set forth in Paragraph 76 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

77, Eagle states that the allegations set forth in Paragraph 77 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

COUNT VI:
INFRINGEMENT OF THE ’209 PATENT

78. Eagle incorporates by reference and realleges its responses to the allegations set forth in
Paragraphs 1-77 of the Complaint.

79, Eagle states that the allegations set forth in Paragraph 79 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

80. Eagle states that the allegations set forth in Paragraph 80 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

81. Eagle admits that claim 1 of the ’209 patent recites as follows:

1. A method of increasing blood pressure in a human in need thereof, the method
comprising administering to the human a unit dosage form, wherein the unit dosage

form comprises from about 0.01 mg/mL to about 0.07 mg/mL of vasopressin or a
pharmaceutically acceptable salt thereof,

wherein:
the unit dosage form has a pH of 3.7-3.9;

the unit dosage form further comprises impurities that are present in an amount of
0.9% - 1.7%, wherein the impurities have from about 85% to about 100% sequence
homology to SEQ ID NO.: 1;

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the administration provides to the human from about 0.01 units of vasopressin or
the pharmaceutically-acceptable salt thereof per minute to about 0.1 units of
vasopressin or the pharmaceutically-acceptable salt thereof per minute; and

the human is hypotensive.
Eagle states that the remaining allegations set forth in Paragraph 81 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

82. Eagle states that the allegations set forth in Paragraph 82 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

83. Eagle states that the allegations set forth in Paragraph 83 of the Complaint are legal conclusions
as to which no responsive pleading is necessary, but to the extent a response is required, Eagle
denies the same.

84. Eagle admits that it was aware of the ’209 patent when it submitted ANDA No. 211538. Eagle
states that the remaining allegations set forth in Paragraph 84 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

85. Eagle state's that the allegations set forth in Paragraph 85 of the Complaint are legal
conclusions as to which no responsive pleading is necessary, but to the extent a response is
required, Eagle denies the same.

PRAYER FOR RELIEF
The remainder of the Complaint is a Prayer for Relief, as to which no response is necessary.

To the extent any response is required, Eagle denies that Par is entitled to any remedy or relief.

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DEFENSES

Eagle hereby asserts the following defenses without undertaking or otherwise shifting any
applicable burdens of proof. Eagle reserves the right to assert additional defenses, as warranted
by facts learned through investigation and discovery.

FIRST DEFENSE

The claims of the Patents-in-Suit are invalid for failure to comply with one or more
provisions of Title 35 of the United States Code, including Sections 101, 102, 103, or 112, or other
judicially created bases for invalidation, such as double patenting. For example, without
limitation, the Patents-in-Suit are invalid for the reasons set forth in the Detailed Statement of the
Factual And Legal Bases For Eagle Pharmaceutical Eagle Pharmaceuticals, Inc.’s Certification
That U.S. Patent Nos. 9,375,478, 9,687,526, 9,744,209, 9,744,239, and 9,750,785 Are Invalid,
Unenforceable, And/Or Will Not Be Infringed By The Manufacture, Use, Sale, Offer For Sale, Or
Importation Of Eagle’s Vasopressin Product As Defined By ANDA No. 211538, and the Detailed
Statement of the Factual And Legal Bases For Eagle Pharmaceutical Eagle Pharmaceuticals, Inc.’s
Certification That U.S. Patent No. 9,937,223 Is Invalid, Unenforceable, And/Or Will Not Be
Infringed By The Manufacture, Use, Sale, Offer For Sale, Or Importation Of Eagle’s Vasopressin
Product As Defined By ANDA No. 211538, which were served by Eagle on Par Sterile Products
and Par Pharmaceutical on April 16, 2018 and May 18, 2018, respectively.

SECOND DEFENSE

The submission of Eagle’s ANDA No. 211538 has not infringed and does not infringe any
valid and enforceable claim of the Patents-in-Suit either directly or indirectly, and either literally
or under the doctrine of equivalents. For example, without limitation, the submission of Eagle’s
ANDA No. 211538 has not infringed and does not infringe any valid and enforceable claim of the

Patents-in-Suit for the reasons set forth in the Detailed Statement of the Factual And Legal Bases

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For Eagle Pharmaceutical Eagle Pharmaceuticals, Inc.’s Certification That U.S. Patent Nos.
9,375,478, 9,687,526, 9,744,209, 9,744,239, and 9,750,785 Are Invalid, Unenforceable, And/Or
Will Not Be Infringed By The Manufacture, Use, Sale, Offer For Sale, Or Importation Of Eagle’s
Vasopressin Product As Defined By ANDA No. 211538, and the Detailed Statement of the Factual
And Legal Bases For Eagle Pharmaceutical Eagle Pharmaceuticals, Inc.’s Certification That U.S.
Patent No. 9,937,223 Is Invalid, Unenforceable, And/Or Will Not Be Infringed By The
Manufacture, Use, Sale, Offer For Sale, Or Importation Of Eagle’s Vasopressin Product As
Defined By ANDA No. 211538, which were served by Eagle on Par Sterile Products-and Par
Pharmaceutical on April 16, 2018 and May 18, 2018, respectively.

THIRD DEFENSE

The manufacture, use, sale, offer for sale, or importation of Eagle’s Proposed ANDA
Product has not infringed, does not infringe, and would not infringe any valid claim of the Patents-
in-Suit either directly or indirectly, and either literally or under the doctrine of equivalents. For
example, without limitation, the manufacture, use, sale, offer for sale, or importation of Eagle’s
Proposed ANDA Product has not infringed, does not infringe, and would not infringe any valid
claim of the Patents-in-Suit for the reasons set forth in the Detailed Statement of the Factual And
Legal Bases For Eagle Pharmaceutical Eagle Pharmaceuticals, Inc.’s Certification That U.S. Patent
Nos. 9,375,478, 9,687,526, 9,744,209, 9,744,239, and 9,750,785 Are Invalid, Unenforceable,
And/Or Will Not Be Infringed By The Manufacture, Use, Sale, Offer For Sale, Or Importation Of
Eagle’s Vasopressin Product As Defined By ANDA No. 211538, and the Detailed Statement of
the Factual And Legal Bases For Eagle Pharmaceutical Eagle Pharmaceuticals, Inc.’s Certification
That U.S. Patent No. 9,937,223 Is Invalid, Unenforceable, And/Or Will Not Be Infringed By The

Manufacture, Use, Sale, Offer For Sale, Or Importation Of Eagle’s Vasopressin Product As

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Defined By ANDA No. 211538, which were served by Eagle on Par Sterile Products and Par
Pharmaceutical on April 16, 2018 and May 18, 2018, respectively.

FOURTH DEFENSE

The Complaint fails to state a claim upon which relief can be granted.

FIFTH DEFENSE

Eagle’s actions in defending this case do not give rise to an exceptional case under 35
ULS.C. § 285.

SIXTH DEFENSE

One or more Plaintiffs lack standing to bring and maintain this lawsuit against Eagle.

SEVENTH DEFENSE

Any additional defenses that discovery may reveal.

COUNTERCLAIMS

For its Counterclaims against Plaintiffs/Counterclaim Defendants Par Pharmaceutical, Inc.,
Par Sterile Products, LLC, and Endo Par Innovation Company, LLC (collectively, “Par’),
Defendant/Counterclaim Plaintiff Eagle Pharmaceuticals, Inc.. (“Eagle”) states as follows:

NATURE OF THE ACTION

1. Eagle seeks declaratory judgment under the patent laws of the United States, 35 U.S.C. § 100
et seq., and the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., that the claims of United
States Patent Nos. 9,375,478 (“the ’478 Patent”), 9,687,526 (“the *526 Patent”), 9,744,209
(“the °209 Patent”), 9,744,239 (“the ’239 Patent”), 9,750,785 (“the ’785 Patent”), and
9,937,223 (“the °223 Patent”) (collectively, “the Patents-in-Suit”) are invalid, and have not
been infringed, are not being infringed, and will not be infringed by the submission of Eagle’s
ANDA No. 211538 or the manufacture, use, sale, offer for sale, or importation of Eagle’s

Proposed ANDA Product.

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THE PARTIES

2. Defendant/Counterclaim Plaintiff Eagle is a corporation organized under the laws of the State

of Delaware having a principal place of business at 50 Tice Road, Suite 315, Woodcliff, New
. Jersey, 07677.

3. Upon information and belief, based on the facts alleged in Par’s Complaint,
Plaintiff/Counterclaim Defendant Par Pharmaceutical, Inc. (“Par Pharmaceutical”) is a
corporation organized under the laws of the State of New York, having a principal place of
business at 1 Ram Ridge Road, Chestnut Ridge, New York 10977.

4. Upon information and belief, based on the facts alleged in Par’s Complaint,
Plaintiff/Counterclaim Defendant Par Sterile Products, LLC (“Par Sterile Products”) is a
limited liability company organized under the laws of the State of Delaware, having a principal
place of business at 1 Ram Ridge Road, Chestnut Ridge, New York 10977.

5. Upon information and belief, based on the facts alleged in Par’s Complaint,
Plaintiff/Counterclaim Defendant Endo Par Innovation Company (“EPIC”) is a limited liability
company organized under the laws of the State of Delaware, having a principal place of
business at 1 Ram Ridge Road, Chestnut Ridge, New York 10977.

JURISDICTION & VENUE

6. This Court has subject matter jurisdiction over these Counterclaims under 28 U.S.C. §§ 1331,
1338, 2201, and 2202.

7. Par has filed a Complaint in this District alleging infringement by Eagle of one or more claims
of each of the Patents-in-Suit. An actual controversy exists between Eagle and Par as to the
alleged infringement and validity of the Patents-in-Suit.

8. Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400.

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9. This Court has personal jurisdiction over Par Pharmaceutical because, inter alia, Par
Pharmaceutical has subjected itself to the jurisdiction of this Court by filing its Complaint.

10, This Court has personal jurisdiction over Par Sterile Products because, inter alia, Par Sterile
Products is a corporation organized under the laws of the State of Delaware and has subjected
itself to the jurisdiction of this Court by filing its Complaint.

11. This Court has personal jurisdiction over EPIC because, inter alia, EPIC is a corporation
organized under the laws of the State of Delaware and has subjected itself to the jurisdiction
of this Court by filing its Complaint.

BACKGROUND

12. Upon information and belief, on or around August 26, 2016, the United States Patent &
Trademark Office (“USPTO”) issued the ’478 patent, titled “Vasopressin Formulations For
Use In Treatment of Hypotension.” Upon information and belief, Par Pharmaceutical owns
the ’478 patent.

13. Upon information and belief, on or around June 27, 2017, the USPTO issued the 526 patent,
titled “Vasopressin Formulations For Use In Treatment of Hypotension.” Upon information
and belief, Par Pharmaceutical owns the °526 patent.

14. Upon information and belief, on or around August 29, 2017, the USPTO issued the ’209 patent,
titled “Vasopressin Formulations For Use In Treatment of Hypotension.” Upon information
and belief, Par Pharmaceutical owns the ’209 patent.

15. Upon information and belief, on or around August 29, 2017, the USPTO issued the ’239 patent,
titled “Vasopressin Formulations For Use In Treatment of Hypotension.” Upon information

and belief, Par Pharmaceutical owns the ’239 patent.

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16. Upon information and belief, on or around September 5, 2017, the USPTO issued the ”785
patent, titled “Vasopressin Formulations For Use In Treatment of Hypotension.” Upon
information and belief, Par Pharmaceutical owns the ’785 patent.

17, Upon information and belief, on or around April 10, 2018, the USPTO issued the ’223 patent,
titled “Vasopressin Formulations For Use In Treatment of Hypotension.” Upon information
and belief, Par Pharmaceutical owns the ’223 patent.

18. By letter dated April 16, 2018 (“First Notice Letter”) and in accordance with 21 U.S.C.
§ 355G)(2)(B), Eagle provided notice to Par Sterile Products and Par Pharmaceutical that Eagle
had submitted ANDA No. 211538 seeking approval for Eagle’s Proposed ANDA Product and
that ANDA No. 211538 included Paragraph IV certifications under 21 U.S.C.
§ 355G)(2)(A)(vii) AV) that the °478, °526, ’209, °239, and °785 patents are invalid,
unenforceable, and/or will not be infringed by Eagle’s Proposed ANDA Product.

19. In accordance with 21 U.S.C. § 355()(2)(B)(iv) Gi), the First Notice Letter included a detailed
statement of the factual and legal bases for the certifications that the 7478, 526, ’209, ’239,
and ’785 patents are invalid, unenforceable, and/or will not be infringed by Eagle’s Proposed
ANDA Product.

20. By letter dated May 15, 2018 (“Second Notice Letter”) and in accordance with 21 U.S.C.
§ 355(j)(2)(B), Eagle provided notice to Par Sterile Products and Par Pharmaceutical that Eagle
had submitted ANDA No. 211538 seeking approval for Eagle’s Proposed ANDA Product and
that ANDA No. 211538 included a Paragraph IV certification under 21 U.S.C.
§ 355G)(2)(A)(vii)(IV) that the °223 patent is invalid, unenforceable, and/or will not be

infringed by Eagle’s Proposed ANDA Product.

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21. In accordance with 21 U.S.C. § 355()(2)(B)(Giv)(ii), the Second Notice Letter included a
detailed statement of the factual and legal bases for the certification that the ’223 patent is
invalid, unenforceable, and/or will not be infringed by Eagle’s Proposed ANDA Product.

22, On May 31, 2018, Par initiated this action against Eagle alleging infringement of the Patents-
in-Suit.

FIRST COUNTERCLAIM
Noninfringement of the ’478 Patent

23. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-22 of
its Counterclaims as if fully set forth herein.

24. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the noninfringement of the ’478 Patent.

25, Eagle has not infringed, is not infringing, and will not infringe any valid and enforceable claim,

directly, indirectly, literally, or under the doctrine of equivalents, of the ’478 patent. By way

of non-limiting example, as set forth in the First Notice Letter, a
| | and therefore does not infringe any claim of the ’478 patent.

26. In addition, the claims of the ’478 patent are invalid for failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including invalid as
obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First Notice

Letter, each alone or in combination with one or more others, including: T. Treschan & J.

Peters, The Vasopressin System, Physiology and Clinical Studies, 105 Anesthesiology 599

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(2006) (“Treschan”); Pharm. Partners Can., Vasopressin Injection, USP (2009) (“PPC”);
Fresenius Kabi USA, LLC, NovaPlus® (2014) (“Fresenius Label’); JHP Pharm., Pitressin®
(2012) (“Pitressin Label”); M. Argenziano, A Prospective Randomized Trial of Arginine
Vasopressin in the Treatment of Vasodilatory Shock After Left Ventricular Assist Device
Placement, 96 Circulation Il-286 (1997) (“Argenziano”); E. Lechner et al., Arginine-
Vasopressin in Neonates with Vasodilatory Shock After Cardiopulmonary Bypass, 166 Eur. J.
Pediatr. 1221(2007) (“Lechner”); and M.W. Dunser et al., Cardiac Performance During
Vasopressin Infusion in Postcardiotomy Shock, 28 Intensive Care Med..746 (2002) (“Dunser”).
As also set forth in the First Notice Letter, the claims of the ’478 are invalid as indefinite,
pursuant to 35 U.S.C. § 112. Because one cannot infringe an invalid claim, Eagle’s Proposed
ANDA Product does not infringe any claim of the ’478 patent for this additional reason.

27. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for why Eagle has not infringed, is not infringing, and
will not infringe any valid and enforceable claim, directly, indirectly, literally, or under the
doctrine of equivalents, of the ’478 patent. Eagle incorporates by reference these factual and
legal bases provided in the First Notice Letter.

28. Eagle is entitled to a declaratory judgment that the submission of ANDA No. 211538 and the
making, using, offering to sell, selling, and/or importing of Eagle’s Proposed ANDA Product,
have not, do not and will not infringe any valid and enforceable claims of the ’478 Patent.

SECOND COUNTERCLAIM
Invalidity of the ’478 Patent

29, Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-28 of

its Counterclaims as if fully set forth herein.

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30. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the invalidity of the ’478 Patent.

31. The claims of the °478 patent are invalid for at least failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including, but not
limited to, 35 U.S.C. § 103. By way of non-limiting example, the claims of the ’478 are invalid
as obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First
Notice Letter, alone or in combination, including: Treschan; PPC; Fresenius Label; Pitressin
Label; Argenziano; Lechner; and Dunser.

32. In addition, as set forth in the First Notice Letter, the claims of the °478 patent are invalid as
indefinite, pursuant to 35 U.S.C. § 112.

33. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for why the claims of the ’478 patent are invalid. Eagle
incorporates by reference these factual and legal bases provided in the First Notice Letter.

34. Eagle is entitled to a declaratory judgment the claims of the ’478 patent are invalid.

THIRD COUNTERCLAIM
Noninfringement of the ’526 Patent

35. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-34 of
its Counterclaims as if fully set forth herein.

36. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment concerning the noninfringement of the ’526 Patent.

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37. Eagle has not infringed, is not infringing, and will not infringe any valid and enforceable claim,

directly, indirectly, literally, or under the doctrine of equivalents, of the °526 patent. By way

of non-limiting example, as set forth in the First Notice Letter, Po
eee
ee. and therefore does not infringe any claim of the ’526 patent.

38. In addition, the claims of the ’526 patent are invalid for failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including invalid as
obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First Notice
Letter, each alone or in combination with one or more others, including: Treschan; PPC;
Fresenius Label; Pitressin Label; Argenziano; Lechner; and Dunser. As also set forth in the
First Notice Letter, the claims of the ’526 are invalid as indefinite, pursuant to 35 U.S.C. § 112.
Because one cannot infringe an invalid claim, Eagle’s Proposed ANDA Product does not
infringe any claim of the ’526 patent for this additional reason.

39. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for the for why Eagle has not infringed, is not
infringing, and will not infringe any valid and enforceable claim, directly, indirectly, literally,
or under the doctrine of equivalents, of the "526 patent. Eagle incorporates by reference these
factual and legal bases provided in the First Notice Letter.

40, Eagle is entitled to a declaratory judgment that the submission of ANDA No. 211538 and the
making, using, offering to sell, selling, and/or importing of Eagle’s Proposed ANDA Product

have not, do not, and will not infringe any valid and enforceable claims of the ’526 Patent.

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FOURTH COUNTERCLAIM
Invalidity of the ’526 Patent

 

41. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 140 of
its Counterclaims as if fully set forth herein.

42. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the invalidity of the ’526 Patent.

43. The claims of the ’526 patent are invalid for at least failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including, but not
limited to, 35 U.S.C. § 103. By way of non-limiting example, the claims of the ’526 are invalid
as obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First
Notice Letter, alone or in combination, including: Treschan; PPC; Fresenius Label; Pitressin
Label; Argenziano; Lechner; and Dunser.

44. In addition, as set forth in the First Notice Letter, the claims of the ’526 patent are invalid as
indefinite, pursuant to 35 U.S.C. § 112.

45. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for why the claims of the 526 patent are invalid. Eagle
incorporates by reference these factual and legal bases provided in the First Notice Letter.

46. Eagle is entitled to a declaratory judgment the claims of the ’526 patent are invalid.

FIFTH COUNTERCLAIM
Noninfringement of the ’209 Patent

47. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-46 of

its Counterclaims as if fully set forth herein.

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48. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the noninfringement of the ’209 Patent.

49. Eagle has not infringed, is not infringing, and will not infringe any valid and enforceable claim,

directly, indirectly, literally, or under the doctrine of equivalents, of the ’209 patent. By way

of non-limiting example, as set forth in the First Notice Letter, Po
PO and therefore does not infringe any claim of the

°209 patent.

50. In addition, the claims of the ’209 patent are invalid for failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including invalid as
obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First Notice
Letter, each alone or in combination with one or more others, including: Treschan; PPC;
Fresenius Label; Pitressin Label; Argenziano; Lechner; and Dunser. As also set forth in the
First Notice Letter, the claims of the ’209 are invalid as indefinite, pursuant to 35 U.S.C. § 112.
Because one cannot infringe an invalid claim, Eagle’s Proposed ANDA Product does not
infringe any claim of the ’209 patent for this additional reason.

51.In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for why Eagle has not infringed, is not infringing, and
will not infringe any valid and enforceable claim, directly, indirectly, literally, or under the
doctrine of equivalents, of the ’209 patent. Eagle incorporates by reference these factual and

legal bases provided in the First Notice Letter.

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52. Eagle is entitled to a declaratory judgment that the submission of ANDA No. 211538 and the
making, using, offering to sell, selling, and/or importing Eagle’s Proposed ANDA Product
have not, do not, and will not infringe any valid and enforceable claims of the ’209 Patent.

SIXTH COUNTERCLAIM
Invalidity of the ’209 Patent

53. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-52 of
its Counterclaims as if fully set forth herein.

54. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the invalidity of the ’209 Patent.

55. The claims of the ’209 patent are invalid for at least failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including, but not
limited to, 35 U.S.C. § 103. By way of non-limiting example, the claims of the ’209 are invalid
as obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First
Notice Letter, alone or in combination, including: Treschan; PPC; Fresenius Label; Pitressin
Label; Argenziano; Lechner; and Dunser.

56. In addition, as set forth in the First Notice Letter, the claims of the ’209 patent are invalid as
indefinite, pursuant to 35 U.S.C. § 112.

57. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for why the claims of the ’209 patent are invalid. Eagle
incorporates by reference these factual and legal bases provided in the First Notice Letter.

58. Eagle is entitled to a declaratory judgment the claims of the ’209 patent are invalid.

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SEVENTH COUNTERCLAIM
Noninfringement of the ’239 Patent

59. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-58 of
its Counterclaims as if fully set forth herein.

60. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the noninfringement of the ’239 Patent.

61. Eagle has not infringed, is not infringing, and will not infringe any valid and enforceable claim,
directly, indirectly, literally, or under the doctrine of equivalents, of the ’239 patent. By way

of non-limiting example, as set forth in the First Notice Letter,

and therefore Eagle’s Proposed ANDA product does not
infringe any claim of the ’239 patent.

62. In addition, the claims of the ’239 patent are invalid for failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including invalid as
obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First Notice
Letter, each alone or in combination with one or more others, including: Treschan; PPC;
Fresenius Label; Pitressin Label; Argenziano; Lechner; and Dunser. As also set forth in the
First Notice Letter, the claims of the ’239 patent are invalid as indefinite, pursuant to 35 U.S.C.

§ 112. Furthermore, as set forth in the First Notice Letter, the claims of the ’239 patent are

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invalid for lack of enablement, pursuant to 35 U.S.C. § 112. Because one cannot infringe an
invalid claim, Eagle’s Proposed ANDA Product does not infringe any claim of the ’239 patent
for this additional reason.

63. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for why Eagle has not infringed, is not infringing, and
will not infringe any valid and enforceable claim, directly, indirectly, literally, or under the
doctrine of equivalents, of the ’239 patent. Eagle incorporates by reference these factual and
legal_bases provided in the First Notice Letter.

64. Eagle is entitled to a declaratory judgment that the submission of ANDA No. 211538 and the
making, using, offering to sell, selling, and/or importing of Eagle’s Proposed ANDA Product
have not, do not, and will not infringe any valid and enforceable claims of the ’239 Patent.

EIGHTH COUNTERCLAIM
Invalidity of the ’239 Patent

65. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-64 of
its Counterclaims as if fully set forth herein.

66. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the invalidity of the ’239 Patent.

67. The claims of the 239 patent are invalid for at least failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including, but not
limited to, 35 U.S.C. § 103. By way of non-limiting example, the claims of the ’239 are invalid

as obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First

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Notice Letter, alone or in combination, including: Treschan; PPC; Fresenius Label; Pitressin
Label; Argenziano; Lechner; and Dunser.

68. In addition, as set forth in the First Notice Letter, the claims of the ’239 patent are invalid as
indefinite, pursuant to 35 U.S.C. § 112.

69. Furthermore, as set forth in the First Notice Letter, the claims of the ’239 patent are invalid for
lack of enablement, pursuant to 35 U.S.C. § 112.

70. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the-factual and legal bases for why the claims of the ’239 patent are invalid. Eagle
incorporates by reference these factual and legal bases provided in the First Notice Letter.

71. Eagle is entitled to a declaratory judgment the claims of the ’239 patent are invalid.

NINTH COUNTERCLAIM
Noninfringement of the ’785 Patent

72. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-71 of
its Counterclaims as if fully set forth herein.

73. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the noninfringement of the ’785 Patent.

74, Eagle has not infringed, is not infringing, and will not infringe any valid and enforceable claim,

directly, indirectly, literally, or under the doctrine of equivalents, of the ’785 patent. By way

of non-limiting example, as set forth in the First Notice Letter, P|
Pe and therefore does not infringe any claim of the

°785 patent.

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75. In addition, the claims of the ’785 patent are invalid for failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including invalid as
obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First Notice
Letter, each alone or in combination with one or more others, including: Treschan; PPC;
Fresenius Label; Pitressin Label; Argenziano; Lechner; and Dunser. As also set forth in the
First Notice Letter, the claims of the ’785 are also invalid as indefinite, pursuant to 35 U.S.C.
§ 112. Because one cannot infringe an invalid claim, Eagle’s Proposed ANDA Product does
not infringe any claim of the ’785_patent for this additional reason.

76. In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for why Eagle has not infringed, is not infringing, and
will not infringe any valid and enforceable claim, directly, indirectly, literally, or under the
doctrine of equivalents, of the ’785 patent. Eagle incorporates by reference these factual and
legal bases provided in the First Notice Letter.

77, Eagle is entitled to a declaratory judgment that the submission of ANDA No. 211538 and the
making, using, offering to sell, selling, and/or importing of Eagle’s Proposed ANDA Product
have not, do not, and will not infringe any valid and enforceable claims of the ’785 Patent.

TENTH COUNTERCLAIM
Invalidity of the ’785 Patent

78. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-77 of
its Counterclaims as if fully set forth herein.

79. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment concerning the invalidity of the ’785 Patent.

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80. The claims of the ’785 patent are invalid for at least failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including, but not
limited to, 35 U.S.C. § 103. By way of non-limiting example, the claims of the ’785 are invalid
as obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the First
Notice Letter, alone or in combination, including: Treschan; PPC; Fresenius Label; Pitressin
Label; Argenziano; Lechner; and Dunser.

81. In addition, as set forth in the First Notice Letter, the claims of the ’785 patent are invalid as
indefinite, pursuant to 35 U.S.C. § 112.

82.In accordance with 21 U.S.C. § 355G)(2)(B), the First Notice Letter included a detailed
statement of the factual and legal bases for the for why the claims of the ’785 patent are invalid.
Eagle incorporates by reference these factual and legal bases provided in the First Notice
Letter,

83. Eagle is entitled to a declaratory judgment the claims of the ’785 patent are invalid.

ELEVENTH COUNTERCLAIM
Noninfringement of the ’223 Patent

84. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-83 of
its Counterclaims as if fully set forth herein.

85. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the noninfringement of the ’223 Patent.

86. Eagle has not infringed, is not infringing, and will not infringe any valid and enforceable claim,

directly, indirectly, literally, or under the doctrine of equivalents, of the °223 patent. By way

of non-limiting example, as set forth in the Second Notice Letter, Po

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and therefore does not infringe any claim of the

223 patent, 192,

Eagle’s Proposed ANDA product would not infringe any claim of the ’223 patent for this

additional reason. Further,

Re: therefore does not infringe any claim of the ’223 patent for

this additional reason.

87. Additionally, the claims of the ’223 patent are invalid for failure to. comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including invalid as
obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the Second
Notice Letter, each alone or in combination with one or more others, including: Treschan; PPC;
Fresenius Label; Pitressin Label; Dunser; J. Russell et al., Vasopressin Versus Norepinephrine
Infusion in Patients with Septic Shock, 358 New Eng. J. Med. 877 (2008) (“Russell”); and R.
Nunez et al., Terlipressin Continuous Infusion: Please Mind the Solvent!, 10 Current Drug
Targets 577 (2009) (“Nunez”). As also set forth in the Second Notice Letter, the claims of the

°223 are invalid as indefinite, pursuant to 35 U.S.C. § 112. Because one cannot infringe an

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invalid claim, Eagle’s Proposed ANDA Product does not infringe any claim of the ’223 patent
for this additional reason.

88. In accordance with 21 U.S.C. § 355(j)(2)(B), the Second Notice Letter included a detailed
statement of the factual and legal bases for why Eagle has not infringed, is not infringing, and
will not infringe any valid and enforceable claim, directly, indirectly, literally, or under the
doctrine of equivalents, of the ’223 patent. Eagle incorporates by reference these factual and
legal bases provided in the Second Notice Letter.

89. Eagle is entitled to a.declaratory judgment that the submission of ANDA No. 211538 and the
making, using, offering to sell, selling, and/or importing of Eagle’s Proposed ANDA Product
have not, do not, and will not infringe any valid and enforceable claims of the ’223 Patent.

TWELFTH COUNTERCLAIM
Invalidity of the ’223 Patent

90. Eagle incorporates by reference and realleges the allegations set forth in Paragraphs 1-89 of
its Counterclaims as if fully set forth herein.

91. There is an actual, substantial, and continuing justiciable case or controversy between
Defendant/Counterclaim Plaintiff Eagle and Plaintiffs/Counterclaim Defendants Par, having
adverse legal interests of sufficient immediacy and reality to warrant the issuance of a
declaratory judgment concerning the invalidity of the ’223 Patent.

92. The claims of the ’223 patent are invalid for at least failure to comply with one or more
conditions for patentability set forth in Title 35 of the United States Code, including, but not
limited to, 35 U.S.C. § 103. By way of non-limiting example, the claims of the ’223 are invalid
as obvious pursuant to 35 U.S.C. § 103 in view of at least the references cited in the Second
Notice Letter, alone or in combination, including: Treschan; PPC; Fresenius Label; Pitressin

Label; Dunser; Russell; and Nunez.

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93. In addition, as set forth in the Second Notice Letter, the claims of the ’223 patent are invalid
as indefinite, pursuant to 35 U.S.C. § 112.

94, In accordance with 21 U.S.C. § 355()(2)(B), the Second Notice Letter included a detailed
statement of the factual and legal bases for the for why the claims of the ’223 patent are invalid.
Eagle incorporates by reference these factual and legal bases provided in the Second Notice
Letter.

95. Eagle is entitled to a declaratory judgment the claims of the ’223 patent are invalid.

PRAYER FOR RELIEF

WHEREFORE, Eagle respectfully requests that this Court enter a Judgment and Order
against Par as follows:

A. Dismissing Par’s Complaint with prejudice;

B. Declaring that Eagle has not and will not directly or indirectly infringe any valid
claim of the ’478 patent;

C. Declaring that the claims of the ’478 patent are invalid;

D. Declaring that Eagle has not and will not directly or indirectly infringe any valid
claim of the 7526 patent;

E. Declaring that the claims of the ’526 patent are invalid;

F. Declaring that Eagle has not and will not directly or indirectly infringe any valid
claim of the ’209 patent;

G. Declaring that the claims of the ’209 patent are invalid;

H. Declaring that Eagle has not and will not directly or indirectly infringe any valid
claim of the ’239 patent;

I. Declaring that the claims of the ’239 patent are invalid;

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J. Declaring that Eagle has not and will not directly or indirectly infringe any valid
claim of the ’785 patent;
K. Declaring that the claims of the ’785 patent are invalid;
L. Declaring that Eagle has not and will not directly or indirectly infringe any valid
claim of the ’223 patent;
M. Declaring that the claims of the ’223 patent are invalid;
N. Awarding Eagle its costs and expenses in this action;
O. Denying Par’s request for injunctive relief;
P, Declaring this case exceptional under 35 U.S.C. § 285, and awarding Eagle its
attorneys’ fees, costs, and expenses in this action; and
Q. Awarding Eagle such other and further relief that the Court deems just and proper.
Respectfully submitted,
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Dated: August 6, 2018
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Public Version Dated: August 13, 2018 Pharmaceuticals Inc.

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